Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 1 of 23 PageID #: 1
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 2 of 23 PageID #: 2
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 3 of 23 PageID #: 3
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 4 of 23 PageID #: 4
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 5 of 23 PageID #: 5
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 6 of 23 PageID #: 6
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 7 of 23 PageID #: 7
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 8 of 23 PageID #: 8
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 9 of 23 PageID #: 9
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 10 of 23 PageID #: 10
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 11 of 23 PageID #: 11
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 12 of 23 PageID #: 12
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 13 of 23 PageID #: 13
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 14 of 23 PageID #: 14
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 15 of 23 PageID #: 15
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 16 of 23 PageID #: 16
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 17 of 23 PageID #: 17
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 18 of 23 PageID #: 18
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 19 of 23 PageID #: 19
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 20 of 23 PageID #: 20
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 21 of 23 PageID #: 21
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 22 of 23 PageID #: 22
Case 2:19-cv-00361-GRB-SIL Document 1 Filed 01/17/19 Page 23 of 23 PageID #: 23
